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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JUL 21 2021
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 21-50089

               Plaintiff - Appellee,
                                                D.C. No. 8:20-cr-00146-DOC-1
   v.                                           U.S. District Court for Central
                                                California, Santa Ana
 JASON FONG, AKA asian_ghazi,
                                                MANDATE
               Defendant - Appellant.


        The judgment of this Court, entered July 21, 2021, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Nixon Antonio Callejas Morales
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
